                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JENNIFER McLIN, as Administrator of the Estate                )
of WILLIAM HOPE, Jr.,                                         )
                                                              )
               Plaintiff,                                     )
                                                              )
       v.                                                     )      10 cv 5076
                                                              )
CITY OF CHICAGO, a municipal corporation,                     )
and OFC. MICHAEL St.CLAIR and                                 )     Judge Matthew
OFC. ARMANDO UGARTE,                                          )      Kennelly
                                                              )
               Defendants.                                    )


                       DEFENDANTS’ POST-TRIAL MOTION

       Defendant City of Chicago, by its attorney, Stephen Patton, Corporation Counsel,

and Defendant Officers Michael St. Clair and Armando Ugarte (“Defendant Officers”),

through their attorneys Liza M. Franklin, Megan K. McGrath and Colin White

(collectively, “Defendants”), respectfully move this Honorable Court, pursuant to Fed. R.

Civ. Pro. 50(b), for Judgment as a Matter of Law. Alternatively, Defendants move for a

new trial, pursuant to Fed. R. Civ. Pro. 59 and in support state:

                                    INTRODUCTION

       On November 2, 2012, the jury returned a verdict in favor of Plaintiff on all of her

claims: wrongful seizure of Decedent Hope under both federal and state law against all

Defendants, state law battery against all Defendants, and Section 1983 excessive force

against Defendant Officer St. Clair. This verdict cannot stand.

       Defendants renew their motion for judgment as a matter of law as to Count One,

alleging wrongful seizure under Section 1983, and its companion claim in Count Three,




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unlawful detention pursuant to Illinois law. The evidence presented in the case proved

that the Officers had reasonable suspicion to believe Decedent Hope either committed or

was planning to commit a crime. Thus, their brief detention of him was lawful, and

Defendants are entitled to judgment in their favor on Count I and III.

       Alternatively, the verdict as to all claims cannot stand because Defendants were

unduly prejudiced by the Court’s exclusion of evidence that Decedent Hope possessed a

gun and was on probation for a recent felony conviction at the time of the incident. This

crucial evidence proved that Decedent had a motive to behave in the manner the

Defendant Officers described. Although the Court initially ruled in limine that this

evidence was overly prejudicial, the gun and Decedent’s status should have been revealed

when evidence was presented contradicting both the officers and another witness’

accounts. Defendants should have also been allowed to controvert Plaintiff’s portrayal of

Decedent as a law-abiding citizen at the time of the incident. As a felon in possession of

a weapon, Decedent was not merely a guy minding his own business in the parking lot.

He was committing a crime, and was highly motivated to try to flee from the officers.

Regardless of whether or not the Defendant Officers knew this information at the time,

these facts would have helped the jury better understand the events of that day.

Defendants therefore move for a new trial.

       Defendants should receive a new trial because they were unduly prejudiced by the

Court’s acceptance of Plaintiff’s theory of recovery which linked all of the distinct events

of July 8, 2010, together. The instructions submitted to the jury allowed them to consider

Decedent Hope’s death as “a foreseeable injury” caused by the Defendant Officers’

unlawful detention of Hope. Defendants believe this instruction was given in error, and




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likely contributed the jury’s decision. Defendants therefore move for judgment in their

favor, or alternatively, a new trial.

                                 STANDARD OF REVIEW

        Where a court does not grant a party’s motion for judgment as a matter of law

made under Rule 50(a), the moving party “may file a renewed motion for judgment as a

matter of law and may include an alternative or joint request for new trial under Rule 59.”

Fed.R.Civ.P. 50(b). The court may direct entry of judgment as a matter of law only if

there was not a legally sufficient evidentiary basis for the jury’s verdict. Thomas v. Cook

Co. Sherriff’s Dep’t, 604 F.3d 293, 301 (7th Cir.) cert. denied – U.S. – , 131 S. Ct. 642

(2010). When a jury has reached a verdict despite not being presented with a legally

sufficient amount of evidence from which it could reasonably reach that verdict, the court

must vacate it. Massey v. Blue Cross-Blue Shield of Illinois, Inc., 226 F.3d 922, 924-25

(7th Cir. 2000), citing Futrell v. J.I. Case, 38 F.3d 342, 346 (7th Cir. 1994). Although

the standard is generous in favor of the non-moving party, there must be more than a

“mere scintilla” of evidence to support the verdict returned in that party’s favor, and any

inferences drawn from the evidence must be taken in a light most favorable to the party

against whom judgment was granted. Id.

        For similar reasons, Federal Rule of Civil Procedure 59(a)(1)(A) provides that

after a jury trial, a district court may grant a motion for new trial on all or some of the

issues, to any party, for any reason for which a new trial has previously been granted in

federal court. A court should grant a new trial where there was judicial error in the

admission or exclusion of evidence, jury instructions, or party misconduct. See 6A

MOORE’S FEDERAL PRACTICE. ¶ 59.08[1] (2d ed. 1995). A new trial should be




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granted when “the verdict is against the weight of the evidence, the damages are

excessive, or if for other reasons the trial was not fair to the moving party.” Briggs v.

Marshall, 93 F.3d 355, 360 (7th Cir. 1995), citing Winger v. Winger, 82 F.3d 140, 143 (7th

Cir. 1996).

I.     DEFENDANTS ARE ENTTILED TO JUDGMENT IN THEIR FAVOR ON
       THE UNLAWFUL DETENTION CLAIM

       The verdict that Officers Ugarte and St. Clair unlawfully detained Decedent Hope

is not supported by the evidence in this case. Alternatively, the Officers are entitled to

qualified immunity on this claim. The evidence did not establish that Decedent Hope’s

constitutional rights were violated by the Defendant Officers’ initial investigatory stop,

but instead plainly demonstrates that the Officers had reasonable suspicion to believe

Decedent had committed or was about to commit a crime.

       A.      Defendant Officers Ugarte and St. Clair Had Reasonable Suspicion
               To Conduct an Investigatory Detention of Decedent.

       While the Fourth Amendment protects against unreasonable searches and

seizures, it is well-established that law enforcement officials are permitted to make

investigatory stops, referred to as “Terry stops,” when the officer has a reasonable,

articulable suspicion that the person stopped has committed or is about to commit a

crime. U.S. v. Askew, 403 F.3d 496, 507 (7th Cir. 2005), citing Terry v. Ohio, 392 U.S. 1,

26 (1968); U.S. v. Scheets, 188 F.3d 829, 837 (7th Cir. 1999); see also, Jewett v. Anders,

521 F.3d 818, 823 (7th Cir. 2008). The line between a lawful Terry stop and an unlawful

arrest is not always clear, and the court reviews the totality of the circumstances facing

the officer at the time of the stop to make its finding. Askew, 403 F.3d at 507; see also,




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Jewett, 521 F.3d at 823-24 (“reasonable suspicion is viewed in light of the totality of the

circumstances known to the officer”).

        In the instant case, the evidence presented establishes that, under the totality of

the circumstances known to the Defendant Officers, they had reasonable suspicion to

conduct an investigatory stop in the Popeye’s parking lot. Hope was parked far from the

business entrance to the restaurant, with his car situated in such a manner to allow him to

observe the back doors of Popeye’s, close to where employees enter and exit, but a

distance from the business entrance on 75th Street. Exhibit A (Testimony of Officer

Ugarte) at 60:1, 5, 15; 61:5-7; 113:5-25-4:1-3; 114:22-25; 137:18-21; 141:18-25, 142:1-

4; Exhibit B (Testimony of Officer St. Clair) at 188:4-19; 252:6-13, 19-25, 253:25;

Exhibit C (Testimony of Haji Bryant) at 310:4-8; 319:10-14.                   Witness Haji Bryant

testified, just as the Defendant Officers did, that she noticed Decedent because he was in

that spot. Ex. C at 310:4-8. At no time did the Officers, or any other witness, see Hope

conduct any business at Popeye’s; rather, he was sitting in vehicle making no effort to

make a purchase at the restaurant.1 Ex. A (Ugarte) at 60:5, 15; 61:5-7; 71:1-15; 113:5-

17; 124:3-6; 141:18-25, 142:1-4; Ex. B (St. Clair) at 252:6-13, 19-25, 253:25.

        After making these observations, the Officers investigated further, and only found

additional circumstances to heighten their suspicions. First, the engine running, but the

window was rolled down on a hot summer day, indicating that the engine was not

running to utilize air conditioning. Ex. A (Ugarte) at 71:21-22; 72:21-22; 73:1; 77:5-9;

114:22-25; 143:6-13; Ex. B (St. Clair) at 209:12. There was no evidence of any purchase

at the restaurant, or that Hope was an employee waiting for his shift to start. Ex A

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  Witness Johnnie McGhee told investigators that he saw Decedent Hope buying chicken at Popeyes, and
that Hope was eating what he purchased when the encounter with the officers began. McGhee Transcript at
380:6-17. At trial, however, he backed away from this assertion. Id. at 379:2-7.


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(Ugarte) at 71:11-15; 124:3-10; 141:18-25, 142:1-4; Ex. B (St. Clair) at 259:18-260:1.

Most telling, both Officers observed a bundle of cash in the console of the car: a hundred

dollar bill wrapped around several other bills of unknown denominations. Ex A (Ugarte)

at 77:5-12, 17-25; 78:8-9; 83:18-23; 114:22-25-115:1-8; 124:20-25; 134:2; Ex. B (St.

Clair) at 207:22-24; 225:10-11, 14-18. The Officers testified that, in their experience,

they have seen currency in this type of format when dealing with narcotics-related

activities. Ex. A (Ugarte) at 78:3; 83:18-23; 115:1-13; 124:20-25; 125:1-6; 134:2; Ex. B

(St. Clair) at 225:10-11, 14-18. All of these circumstances make plain that the Officers

had reasonable suspicion not only to instigate a conversation with Hope, but to continue

it at the side of his car.

        B.       Officers Ugarte and St. Clair are Entitled to Qualified Immunity on
                 Count I.

        Under the doctrine of qualified immunity, public officials performing

discretionary functions are generally shielded from liability for civil damages when their

conduct does not violate clearly established constitutional or statutory rights of which a

reasonable person would have known. Pearson, et al., v. Callahan, 129 S. Ct. 808, 815

(2009), citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Qualified immunity

balances the important interests of holding public officials accountable when they

exercise power irresponsibly against protecting public employees from “harassment,

distraction and liability when they perform their duties reasonably.” Pearson, 129 at 815,

citing Groh v. Ramirez, 540 U.S. 551, 567 (2004).

        Although qualified immunity is a defense to a Section 1983 suit, plaintiff bears

the burden of establishing the elements of the two part test. Spiegel v. Cortese, 196 F.3d

717, 723 (7th Cir. 1999). To overcome qualified immunity, a plaintiff must show (1) a



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constitutional violation occurred and (2) the right at issue was clearly established at the

time of the defendants’ actions. Saucier v. Katz, 533 U.S. 194, 201 (2001). However, for

expediency, the court may determine qualified immunity based solely on a finding that

the right at issue is not clearly established. Catlin v. City of Wheaton, 547 F.3d at 361,

365 (7th Cir. 2009). Since Plaintiff did not meet her burden, Defendants are entitled to

qualified immunity.

       As explained above, the evidence presented at trial establishes that reasonable

officers in Officers St. Clair and Ugarte’s position and with the same knowledge they

possessed could have reasonably believed their actions were reasonable. The evidence

was clear that the Defendant Officers, as tactical officers in the 6th District, have a duty

and obligation to investigate suspicious activity that may be related to illegal activity

involving guns, gangs and drugs. Ex A (Ugarte) at 30:5-9. 14-16; 113:5-25-114:1-3;

115:1-13; 124:3:10, 20-25; 125:1-6; 141:18-25, 142:1-4; Ex B (St. Clair) at 159:1-2;

188:4-19; 192:23-25; 193:1-6; 237:24-238:7; 251:25-252:5; 252:6-13, 19-25, 253:25;

260:17-23. Regardless of whether or not Decedent Hope had legitimate business in the

Popeye’s parking lot, everything about the manner in which Hope occupied the space in

that lot would imply to an experienced officer – which the Defendants presented

themselves to be – that he must at the very least conduct a field interview to determine

what, if any, activity was being conducted. Ex A (Ugarte) at 30:5-9. 14-16; 33:9-11;

33:9-14; 60:1, 5, 15; 61:5-7; 113:5-25-114:1-3; 115:1-13; 124:3-10, 20-25; 125:1-6;

141:18-25, 142:1-4; Ex B (St. Clair) at 188:4-19; 192:23-25; 193:1-6; 251:25-252:5;

252:6-13, 19-25, 253:25; 260:17-23; 303:17-20.        That the Officers’ field interview

quickly became a Terry stop and then a lawful arrest only shows the actions taken here




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were reasonable, and they very kind of police action the doctrine of qualified immunity is

designed to protect.

II.    DEFENDANTS ARE ENTITLED TO A NEW TRIAL BECAUSE THEY
       WERE UNFAIRLY PREJUDICED BY THE SUPRESSION OF CERTAIN
       EVIDENCE AND PARTICULAR JURY INSTRUCTIONS.

       Before the start of trial, Plaintiff moved in limine for a number of facts to be

barred from evidence because they were not known to the Defendant Officers at the time

of their encounter with Decedent. The Court granted this motion in part, and the specific

evidence that the jury was unable to hear substantially prejudiced Defendants. The fact

that Decedent Hope possessed a gun at the time of this encounter and was on probation

for a felony conviction, though unknown to the Defendant Officers at the time, should

have been introduced to the jury because it provides an explanation and motive for

Decedent’s actions as described by the Officers and other witnesses. Furthermore, the

jury should have been presented this evidence because Plaintiff’s counsel repeatedly

implied that Decedent was not breaking any laws at the time of this encounter when he

was in fact: by being a felon in possession of a weapon.

       At the close of her case in chief, Plaintiff presented a “Brief as to

Seizure/Detention Damages,” wherein she argued that any damages awarded pursuant to

her unlawful detention claims – both state and federal – include all damages the jury

might award in this case. See Docket (“Dkt.”) at 93. Simply put, Plaintiff asked that the

jury be instructed that, when assessing possible compensatory damages, they consider the

entire series of events at the Popeye’s parking lot on July 8, 2010, as one event.

Defendants objected before the final jury instructions were tendered (memorialized at




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Dkt. 100), but the Court gave a damages instructions that comported with Plaintiff’s

theory. Defendants renew their objection to this instruction.

       A.      Decedent’s Possession of a Firearm was Crucial, Relevant Evidence
               that Should Have Been Presented to the Jury.

        To obtain a new trial based on an erroneous evidentiary ruling, the party must

demonstrate that this ruling “affected his substantial rights.” Elrod v. Yerke, 2012 WL

3716243 at *3, Aug. 24, 2012 (Darrah, J.), citing Fed.R.Evid. 103(a). The error must

have a substantial influence over the jury, and the result reached as a result of the error is

inconsistent with substantial justice. Farfaras v. Citizens Bank and Trust of Chicago, 433

F.3d 558, 564 (7th Cir. 2006).

       In her motion seeking to bar evidence that Decent possessed a gun, Plaintiff relied

on Sherrod v. Berry and Palmquist v. Selvick. As explained in Defendants’ response, this

reliance was misplaced because the evidence was not going to be offered to justify

Officer St. Clair’s use of deadly force. Instead, Defendants sought to introduce both the

gun and Decedent’s status as relevant to explain the possible motive and intent for his

actions on July 8, 2010, based largely on the Seventh Circuit’s decision in Common v.

City of Chicago, 661 F.3d 940 (7th Cir. 2011). Although the Court disagreed, Defendants

respectfully submit that this ruling was in error and they are thus entitled to a new trial.

       Plaintiff in Common sought to bar defendants from offering evidence that the

decedent had packets of drugs in mouth at the time he was fatally shot by the defendant

officer. 661 F.3d at 943. Just as Plaintiff did here, Common argued that Sherrod and

Palmquist did not allow evidence to be presented to the jury that was unknown to an

officer at the time force was used.       The Seventh Circuit disagreed with this strict

interpretation; rather, the court explained that both prior decisions “allow a peek under



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the blinders in certain circumstances.” Id. at 944. The facts presented in that case

presented just such a circumstance.

       In Common, defendant officer Guy Nelson testified that he fatally shot decedent

when, after failing to comply with verbal directions to show his hands, the decedent tried

to disarm Officer Nelson. Id. at 943. The court described this as “a fight or flight

response,” explained by the fact (discovered later) that decent had several packets of

illegal drugs hidden in his mouth. Id. at 945. Other witnesses, however, contradicted

Nelson’s version of events, saying decent had his hands in the air or that there was no

struggle between Nelson and decedent.           Id. at 945-6.   Because the facts were

“controverted” in that excessive force case, the Court concluded that impeachment by

contradiction could be allowed. Id. at 946. Thus, evidence that decedent possessed drugs

at the time made it more likely than not that he acted in the manner Nelson described, not

the other witnesses. Id.

       Just as decedent’s actions in Common was “not ordinary behavior for a person

encountering the police” Id., so too are the actions the Defendant Officers described

Decedent Hope taking in the instant case.       And similar to Common, the Defendant

Officers’ and another witness’ accounts were “controverted” by the testimony of two

witnesses: Johnnie McGhee and Patricia Polk. Ex A (Ugarte) at 84:12-17; 85:1-20; 86:6-

10; 88:1-24; 90:20-23; 93:11-23; 95:12, 25-96:1-14; 97:2, 5, 18-24; 98:22; 100:2-7;

102:15-17; 106:14-16; 107:1-17; 118:3, 14-24; 119:5-23; 120:2-4, 15-24; 121:2-8, 13-25;

125:19-20; 149:2-3, 22-25; Ex B (St. Clair) at 209:10-15, 17-22; 210:2-3, 7-9; 211:3;

213:1-14, 24-214:1-21; 217:4-16; 219:9-12, 24-220:1; 222:17-22; 226:9-23; 235:10-12;

262:12-263:15; 264:9-265:6; 266:10-25; 267:9-24; 268:4-6, 14-15, 20; 269: 4-11, 21-




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270:3, 5, 15, 17-19; 274:5-6, 14-16; 304:7-14, 21-23; Ex. C (Bryant) at 312:23-25; 313:1-

16; 314:2-4, 19-24; Exhibit D (Testimony of Johnnie McGhee) at 382:1-7; Exhibit E

(Testimony of Patricia Polk) at 12:1-2; 13:1-14. Thus, Defendants should have been

permitted to present evidence that decedent was armed in order to impeach these

witnesses by contradiction.

       More importantly, the evidence that Decedent Hope was a parolee in possession

of a gun at the time should have been admitted to provide a motive for the actions

described by the Defendant Officers and witness Haji Bryant. Ex A (Ugarte) at 84:12-17;

85:1-20; 86:6-10; 88:1-24; 90:20-23; 93:11-23; 95:12, 25-96:1-14; 97:2, 5, 18-24; 98:22;

100:2-7; 102:15-17; 106:14-16; 107:1-17; 118:3, 14-24; 119:5-23; 120:2-4, 15-24; 121:2-

8, 13-25; 125:19-20; 149:2-3, 22-25; Ex B (St. Clair) at 209:10-15, 17-22; 210:2-3, 7-9;

211:3; 213:1-14, 24-214:1-21; 217:4-16; 219:9-12, 24-220:1; 222:17-22; 226:9-23;

235:10-12; 262:12-263:15; 264:9-265:6; 266:10-25; 267:9-24; 268:4-6, 14-15, 20; 269:

4-11, 21-270:3, 5, 15, 17-19; 274:5-6, 14-16; 304:7-14, 21-23; Ex C (Bryant) at 312:23-

25; 313:1-16; 314:2-4, 19-24. The court in Common recognized that the “drug evidence”

was properly used to show that decedent “had a motive” to act in the manner described

by the officers: to avoid being caught with narcotics. Common, 661 at 947. Here,

Decedent Hope being on parole and in possession of a gun is relevant because makes it

more likely than not that he acted in the manner Defendants contend he did at the time of

and before the shooting. See Edwards v. Thomas, 31 F.Supp.2d 1069, 1073 (N.D. Ill

1999), citing Saladino v. Winkler, 609 F.2d 1211, 1214 (7th Cir. 1979).

       Defendants sought to enter evidence that Decedent Hope was armed and on parole

to show motive for Decedent Hope’s actions that day, not to make any kind of character




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attack.    The probative value of this evidence greatly outweighs any prejudice, and

Defendants should have been allowed to rebut any argument that Decedent either did not

move or was just trying to leave the parking lot with evidence that he possessed a gun at

that time. FRE 401, 402.

          B.         In Light of Plaintiff’s Presentation of the Evidence, the Court Should
                     Have Reversed Its Ruling on this Motion in Limine

          It is well-established that ruling on motions in limine are preliminary, and a court

may adjust previous rulings during the course of the trial. Farfaras, 443 F.3d at 565 (7th

Cir. 2006), citing Luce v. United States, 469 U.S. 38, 41 n. 4 (1984). Rulings should be

subject to change when, as the case is presented, it differs from what was contained in

motion.        Id.   Here, because Plaintiff attempted to imply that Decedent Hope was

“innocent” of any crime at the time of the encounter in this case, the Court should have

reversed its ruling on the motion and allowed Defendants to introduce evidence that this

was not true.

          As explained above, the evidence presented here shows exclusion of the gun was

not harmless error because not allowing the jury to hear that Decedent was armed during

these events allowed the jury to conclude that Decedent was just a guy minding his own

business, reasonably trying to leave an encounter with the police. Similarly, the fact that

Decedent was on parole would have provided the jury with an alternative to this

portrayal, and thus provided a more accurate assessment. It was patently unfair for

Plaintiff to be allowed to paint Decedent as an innocent, law abiding citizen on July 8,

2010 because, quite simply, he was not. Defendants are thus entitled to a new trial.




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        C.      The Compensatory Damages Instruction Given to the Jury was
                Unfairly Prejudicial to Defendants.

        Just before the case was submitted to the jury, Plaintiff submitted a trial brief in

support of her position that all of the events of July 8, 2010, should be considered as one

for the purpose of determining damages.          Plaintiff’s Trial Brief, Dkt. at 93.     A

compensatory damages instruction was given to the jury that supported this position.

Dkt. at 94. This instruction was unduly prejudicial to Defendants, and therefore they are

entitled to a new trial.

        Common law tort principles permit a successful plaintiff to recover all damages

that are a foreseeable consequence of that tort, however allowing the jury to consider

Hope’s death in their assessment of damages for his detention was wholly unreasonable.

In her memorandum, Plaintiff relied on Gauger v. Hendle, 349 F.3d 354 (7th Cir. 2003)

in support of this principle, but this interpretation reads too much into that case. Gauger

cautions that damages should be limited to those that are a “reasonable consequence” of

the specific violation. 349 F.3d at 362. Plaintiff in Gaguer “was not entitled to all of the

damages that resulted from the train of events set in motion” by the initial tort, in that

case, a false arrest. Kiswani v. Phoenix Security Agency, Inc., 247 F.R.D. 554, 558 (N.D.

Ill 2008), citing Gauger, 349 F.3d at 362-636.

        Here, Hope’s death should not have been considered as an event which would

naturally follow the underlying stop, which the jury instructions given allowed the jury to

do. First, evidence was presented that Hope’s own actions – namely, moving the car –

were a superseding cause of the force used in the instant case. Ex A (Ugarte) at 84:12-

17; 85:1-20; 86:6-10; 88:1-24; 90:20-23; 93:11-23; 95:12, 25-96:1-14; 97:2, 5, 18-24;

98:22; 100:2-7; 102:15-17; 106:14-16; 107:1-17; 118:3, 14-24; 119:5-23; 120:2-4, 15-24;



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121:2-8, 13-25; 125:19-20; Ex B (St. Clair) at 209:10-15, 17-22; 210:2-3, 7-9; 211:3;

213:1-14, 24-214:1-21; 217:4-16; 219:9-12, 24-220:1; 222:17-22; 226:9-23; 235:10-12;

262:12-263:15; 264:9-265:6; 266:10-25; 267:9-24; 268:4-6, 14-15, 20; 269: 4-11, 21-

270:3, 5, 15, 17-19; 274:5-6, 14-16; 304:7-14, 21-23; Ex C (Bryant) at 312:23-25; 313:1-

16; 314:2-4, 19-24. Those actions break the “train of events set in motion” by the initial

stop, and thus under Gauger the shooting should not be considered in evaluating the

damages caused by it.

       Further, the very nature of the later event should preclude any damages caused by

the shooting to be considered with other, earlier events. This is articulated in Plakas v.

Drinski, 19 F.3d 1143 (7th Cir. 1994), which reminds courts that, when evaluating certain

constitutional claims, especially those alleging excessive force on top of other claims, it

is important to “carve up the incident into segments and judge each on its own terms.”

Plakas, 19 F.3d at 1150. While Plakas relates to the court’s consideration of liability,

Defendants submit that, following Gauger and other cases, this useful principle should

have been followed here.

                                     CONCLUSION

       The jury’s verdict as to Counts I and III in this case was inconsistent with the

evidence presented and thus it should be reversed. Moreover, Defendants were unduly

prejudiced by the suppression of certain evidence and the damages instructions given to

the jury. For the foregoing reasons, Defendants are entitled to a new trial.

                                                     Respectfully submitted,

                                                     /s/ Liza M. Franklin
                                                     LIZA M. FRANKLIN
                                                     Deputy Corporation Counsel




                                            14
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                                     15
